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10
11
                        UNITED STATES DISTRICT COURT
12
                      SOUTHERN DISTRICT OF CALIFORNIA
13
     IN RE OUTLAW LABORATORIES,              Case No.: 18-cv-840-GPC-BGS
14   LP LITIGATION
15                                           JOINT STATEMENT RE
                                             SETTLEMENT AGREEMENT
16                                           DESIGNATION PURSUANT TO
17                                           COURT’S OCTOBER 14, 2020 ORDER

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                    JOINT STATEMENT RE SETTLEMENT AGREEMENT
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18
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19 Michael Wear and Shawn Lynch
20
21
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                                       1
                   JOINT STATEMENT RE SETTLEMENT AGREEMENT
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 1
 2                           TAULER SMITH’S POSITION
 3    I.   THERE      IS   GOOD       CAUSE      TO     UNSEAL       THE     SETTLEMENT
 4         AGREEMENT.
 5         The Settlement Agreement should be unsealed because none of the designating
 6 parties can demonstrate “good cause,” as they must. Kamakana v. City & Cty. of
 7 Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006). As this Court is aware, the Ninth Circuit
 8 treats judicial records attached to dispositive motions differently from records attached to
 9 non-dispositive motions. Id. Those who seek to maintain the secrecy of documents
10 attached to dispositive motions must meet the high threshold of showing that “compelling
11 reasons” support secrecy. However, a “good cause” showing under Rule 26(c) will suffice
12 to keep sealed records attached to non-dispositive motions. Id.
13         As a general rule, the public is permitted “access to litigation documents and
14 information produced during discovery,” and “the party opposing disclosure has the
15 burden of establishing that there is good cause to continue the protection of the discovery
16 material.” Father M. v. Various Tort Claimants (In re Roman Catholic Archbishop) 661
17 F.3d 417, 424 (9th Cir. 2011).
18         While the settlement agreement here is marked confidential “a confidentiality
19 provision, without more, does not constitute good cause, let alone a compelling reason, to
20 seal.” Ambrosino v. Home Depot U.S.A., Inc., No. CV-18-04006-PHX-DWL, 2014 WL
21 931780, *2 (S.D. Cal. 2014) (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d
22 1122, 1136-38 (9th Cir. 2003); Select Portfolio Servicing v. Valentino, No. 12–cv–0334
23 SI, 2013 WL 1800039, at *2–3 (N.D. Cal. Apr. 29, 2013) (that the parties agreed among
24 themselves to make the settlement agreement confidential was insufficient to shield the
25 information from public access); see also Files v. Federated Payment Sys. USA, Inc., No.
26 11–cv–3437, 2013 WL 1874602, at *3 (E.D.N.Y. Apr. 2, 2013) (recognizing that the
27 public has a substantial interest in the amount of FLSA settlements, and that the
28 presumption against disclosure of such information is not easily overcome).
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                     JOINT STATEMENT RE SETTLEMENT AGREEMENT
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 1         Tauler Smith believes that the Settlement Agreement should be a matter of public
 2 record because it impacts the viability of the claims of absent class members. Indeed, the
 3 signatories of the Settlement Agreement have all but conceded as much by previously
 4 taking the position that “[i]f the settlement agreement’s confidentiality is breached or
 5 negated, there are innumerable stores around the country that may pick up the baton, copy
 6 [the] pleadings, and sue Outlaw—knowing that Outlaw has already settled similar claims.”
 7 (September 28, 2020 letter to chambers). However, “a litigant who might be embarrassed,
 8 incriminated, or exposed to litigation through dissemination of materials is not, without
 9 more, entitled to the court's protection.” Foltz, 331 F.3d at 1136 (bracket omitted).
10         Outlaw only bargained for settlement with Plaintiffs’ counsel’s clients. As such,
11 they should not be permitted to cloak their agreement in secrecy in order to preclude a
12 broader set of prospective claims. Similarly, in the context of prospective class claims
13 against Outlaw, Plaintiffs’ counsel should have no reason, let alone “good cause” to keep
14 the terms of its agreement secret. There is no legitimate argument the signatories can
15 make which outweighs the public’s right to know what terms were negotiated by the
16 parties.
17   II.   THE PARTIES’ PROTECTIVE ORDER.
18         Although courts generally make a finding of good cause before issuing a protective
19 order, a court need not do so where (as here) the parties stipulate to such an order. When
20 the protective order “was a stipulated order and no party ha[s] made a ‘good cause’
21 showing,” then “the burden of proof . . . remain[s] with the party seeking protection.”
22 Father M., 661 F.3d at 424. Section 4(a) of the Protective Order (ECF # 235) provides a
23 more restrictive standard than that imposed by law, stating in relevant part:
24
           “any party may designate information as ‘CONFIDENTIAL’ only if, in the
25         good faith belief of such party and its counsel, the unrestricted disclosure of
26         such information could be potentially prejudicial to the business or operations
           of such party.”
27
28
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                     JOINT STATEMENT RE SETTLEMENT AGREEMENT
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 1         Neither Outlaw nor the Stores can make such a showing. Even if the parties to the
 2 Settlement Agreement believe that disclosure of the Settlement Agreement would be
 3 prejudicial to their “business or operations,” any such prejudice is outweighed by the rights
 4 of absent class members.
 5                                 THE STORES’ POSITION
 6         Where settlement agreements include a confidentiality clause, see Settlement § 5.9,
 7 the Court has already recognized the propriety of treating them as “Confidential” if the
 8 producing party chooses that designation. ECF No. 177 at 32:13-20. Above, Tauler Smith
 9 cites the precedent under which “access to litigation documents and information produced
10 during discovery,” requires a separate showing of “good cause.” Supra at 1 (citing In re
11 Roman Catholic Archbishop of Portland in Oregon, 661 F.3d 417, 424 (9th Cir. 2011).
12 But the settlement between the Stores and Outlaw is neither a “litigation document” (i.e.,
13 a brief filed in support of or against any pleading or any motion), nor “information
14 produced during discovery” (i.e., Tauler Smith has not cited any discovery request to
15 which the settlement is responsive). Rather, it was produced in this litigation strictly to
16 allow Judge Curiel to evaluate whether the (still unidentified) members of the putative
17 classes should be given “notice” under Diaz v. Trust Territory of Pacific Islands, 876 F.2d
18 1401 (9th Cir. 1989). See Court’s Order Denying Motion for Permanent Injunction and
19 Ordering Production of Settlement Agreement (hereafter “Order) at 12 (ECF No. 290).
20         The Stores have no interest in preserving the confidentiality of the document
21 beyond their desire to honor their confidentiality agreement with Outlaw and its owners.
22 See Settlement § 5.9. But because the document is neither a “litigation document” nor
23 “information produced during discovery,” the Stores respectfully submit that neither they
24 nor Outlaw needs to demonstrate “good cause” to keep it confidential. See ECF No. 177
25 at 32:13-20. Nor has Tauler Smith identified any prejudice that it will face from
26 preserving the designation. Supra at 1-3.
27         At the end of the day, the Court should take a practical view of this issue—if Judge
28 Curiel holds that notice is required under Diaz, then the terms of the settlement will be
                                         4
                     JOINT STATEMENT RE SETTLEMENT AGREEMENT
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 1 disclosed. But those terms should not be disclosed simply to facilitate Mr. Tauler’s
 2 demonstrated desire to continue his abuse of his former clients. See ECF No. 299-2 at 1
 3 (threatening to sue both his former clients and Outlaw’s current counsel) No. 299-3 at 1
 4 (unjustifiably accusing Outlaw’s current counsel of being a “dumb shit”); ECF No. 299-4
 5 (unjustifiably accusing Outlaw’s current counsel of “greed and incompetence”).
 6                           OUTLAW DEFENDANTS’ POSITION
 7         Litigation makes strange bedfellows. Tauler Smith’s mishandling of this litigation,
 8 and the off–the–rails conduct of its principal Robert Tauler, forced Outlaw to make a
 9 business decision to settle this case. Besides mishandling this litigation and engaging in
10 misconduct, Tauler Smith further forced Outlaw’s hand when Tauler Smith refused to
11 turnover Outlaw’s complete file, provide Outlaw with an accounting of the money it took
12 in throughout this litigation, provide a list of all stores that were issued a demand letter, or
13 otherwise cooperate with Outlaw’s defense of the dog’s breakfast of litigation prosecuted
14 by Tauler Smith. On top of all of that, Tauler will periodically hurl insults and threats over
15 email. More important, Tauler Smith has spent the past few months filing objections and
16 motions trying to upend Outlaw’s settlement with the Stores, which caused Outlaw (and
17 the Stores) to unnecessarily expend money and resources to wrap up a case that settled
18 months ago. Now, Tauler Smith wants to remove the confidential designation from the
19 settlement agreement its client executed with the Stores, apparently out of spite and for
20 improper purposes.
21         The Stipulated Protective Order—insisted upon by Tauler Smith before Tauler’s
22 deposition—says the parties may designated items as “CONFIDENTIAL” if, “in the good
23 faith belief of such party and its counsel, the unrestricted disclosure of such information
24 could be potentially prejudicial to the business or operations of such party.” ECF 235 at ¶
25 4. Outlaw has a good–faith belief that the unrestricted disclosure of the settlement
26 agreement by Tauler Smith “could be potentially prejudicial to the business or operations”
27 of Outlaw and its principals.
28
                                          5
                      JOINT STATEMENT RE SETTLEMENT AGREEMENT
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 1        Here, Tauler Smith has made it clear that it will sue its former client Outlaw out of
 2 spite. For example, in the days after his infamous deposition, Tauler sent the following
 3 email (in an effort to collect attorney fees for which he did no work) threatening Outlaw,
 4 its principals, and its attorney with time–consuming, expensive, and spiteful litigation:
 5
                 I can and will sue my former clients if they break the law,
 6               defraud me or breach our contract. Look it up. Happens
 7               all the time. I will sue you as well if you aid them in doing
                 so Mr. Reagan. I have you dead to rights according to my
 8               research      so      far:    https://www.justia.com/trials-
 9               litigation/docs/caci/2200/2202/

10                                          *****
11               It’s probably too late to ask you to think things through,
                 but you should seriously consider the legality of your
12               conduct. You can say whatever you want about me, but
13               one thing people know is that I go after people when they
                 break the law and I don’t quit. Just ask Shawn. I had
14               Rutan and Tucker (an AmLaw 200 law firm) tap out after
15               one year with me and after two of their clients ended up in
                 jail. I’ve got Poe tied up for the next three years at least
16               and by the end of it he won’t even have a liquor store to
17               represent. I am good at this and I know the set up. You
                 are putting yourself on the wrong side of the law if you
18               play dumb. At least I hope you are “playing” dumb and
19               not actually this dumb. I guess we will find out.

20 Exhibit A, at OUTLAW SUPPLEMENTAL PRODUCTION 003733 (emphasis added).
21
         With regard to the very settlement agreement at issue, Tauler Smith also threatened
22
23 Outlaw’s counsel in Michigan, saying it will “break so bad’ for him:
24               I have also learned that Reagan has reached a deal with
25               Poe where his [REDACTED] (Shawn Lynch and Mike
                 Wear) give ammo to the other side in exchange for a
26               discount on a cash settlement.
27
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                     JOINT STATEMENT RE SETTLEMENT AGREEMENT
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                 If you are involved with this Faustian bargain, you
 1
                 should have the decency to tell me your role and how this
 2               was all coordinated. Not a good look that you have
 3               retained counsel at this stage I must say. This is going
                 to break bad so you are better off coming clean now.
 4
 5         Exhibit A, at OUTLAW SUPPLEMENTAL PRODUCTION 003729 (emphasis
 6 added).
 7
 8         Thus, Outlaw has a good–faith basis for believing that its jilted former attorney
 9 would publish, disseminate, or use Outlaw’s settlement agreement with the Stores in a
10 way that “could be potentially prejudicial to the business or operations” of Outlaw or its
11 principals. Specifically, Tauler has already threatened and will certainly find a way to use
12 the settlement agreement to “gratify private spite.” Kamakana v. City and County of
13 Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006) (“In general, ‘compelling reasons’
14 sufficient to outweigh the public’s interest in disclosure and justify sealing court records
15 exist when such ‘court files might have become a vehicle for improper purposes,’ such as
16 the use of records to gratify private spite, promote public scandal, circulate libelous
17 statements, or release trade secrets.”) (emphasis added). Also, Tauler Smith has already
18 threatened and will certainly find a way to use the settlement agreement to drive up
19 Outlaw’s expenses. See Exhibit A, at OUTLAW SUPPLEMENTAL PRODUCTION
20 003733 (“I’ve got Poe tied up for the next three years at least and by the end of it he won’t
21 even have a liquor store to represent. I am good at this and I know the set up. You are
22 putting yourself on the wrong side of the law if you play dumb. At least I hope you are
23 “playing” dumb and not actually this dumb. I guess we will find out.”); In re Roman
24 Catholic Archbishop of Portland in Oregon, 661 F.3d 417, 424 (9th Cir. 2011) (under
25 Federal Rule of Civil Procedure 26, a court “may, for good cause, issue an order to protect
26 a party or person from annoyance, embarrassment, oppression, or undue burden or
27 expense.”).
28
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                     JOINT STATEMENT RE SETTLEMENT AGREEMENT
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 1         Furthermore, there is a real risk of copycat litigation that could be brought by other
 2 stores throughout the country that were allegedly victimized by Tauler. Other stores
 3 throughout the country who were allegedly victimized by Tauler’s “objectively baseless”
 4 scheme could review the settlement agreement, see the settlement amount, copy the
 5 Stores’ pleadings, and litigate similar claims against Outlaw and Tauler Smith in other
 6 fora. Why Tauler Smith would invite to further litigation—in which it would certainly be
 7 a party—is unknown and puzzling.
 8         Regardless, the Outlaw Defendants respectfully request that the Court keep
 9 Outlaw’s settlement agreement with the Stores confidential. See, e.g., ECF177 at32:13–
10 20 (the Court has already recognized the propriety of treating documents as “Confidential”
11 if the producing party chooses that designation). Settlement agreements routinely contain
12 confidentiality provisions, and those confidentiality provisions should be enforced.
13 Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (“Unless
14 a particular court record is one “traditionally kept secret,” a “strong presumption in favor
15 of access” is the starting point.”). And the confidential designation of the settlement
16 agreement at issue must be maintained in light of the animosity expressed by Tauler
17 toward his former clients and Tauler’s generally unpredictive nature. The settlement
18 agreement is a private document that is unrelated to the merits of this case, and the
19 settlement agreement would likely be inadmissible at trial. Kamakana, 447 F.3d at 1180
20 (“Unlike private materials unearthed during discovery, judicial records are public
21 documents almost by definition, and the public is entitled to access by default.”); FED. R.
22 EVID. 408.
23         At rock bottom, Tauler Smith has no good–faith basis—factual or legal—for
24 removing the confidential designation from the settlement agreement at issue. The
25 settlement agreement does not affect any claims that may be asserted against Outlaw by
26 absent class members, and it does nothing to prejudice the claims of absent class members.
27 Tauler Smith’s feigned interest in protecting the interests of absent class members (where
28 no class has been certified) is outweighed by the likelihood that Tauler Smith—as he has
                                         8
                     JOINT STATEMENT RE SETTLEMENT AGREEMENT
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 1 threatened to do—will find some way to use the settlement agreement in a spiteful and
 2 vengeful way, which could be “ potentially prejudicial to the business or operations” of
 3 Outlaw.
 4
 5
     DATED: October 16, 2020             Respectfully submitted,
 6
 7                                       KJC LAW GROUP, A.P.C.
 8                                 By:   /s/ Kevin J. Cole
                                         Attorneys for Counter-Defendant
 9
                                         Tauler Smith LLP
10
11
     DATED: October 16, 2020             Respectfully submitted,
12
                                         GAW | POE LLP
13
                                   By:   /s/ Mark Poe
14                                       Attorneys for Defendant Roma Mikha, Inc.
15                                       and Third-Party Plaintiffs NMRM, Inc.
                                         and Skyline Market, Inc.
16
17
     DATED: October 16, 2020             Respectfully submitted,
18
19                                       THE REAGAN LAW FIRM
20                                 By:   /s/ Sean M. Reagan
                                         Counsel for Outlaw Laboratory, LP,
21                                       Michael Wear and Shawn Lynch
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                    JOINT STATEMENT RE SETTLEMENT AGREEMENT
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 1                           CERTIFICATE OF SERVICE
 2        I hereby certify that I electronically filed, or caused to be filed, the foregoing
 3 with the Clerk of the Court for the United States District Court for the Southern
 4 District of California by using the CM/ECF system on October 16, 2020. I further
 5 certify that all participants in the case are registered CM/ECF users and that service
 6 will be accomplished by the CM/ECF system.
 7        I certify under penalty of perjury that the foregoing is true and correct.
 8 Executed on October 16, 2020.
                                            KJC LAW GROUP, A.P.C.
 9
                                     By:    /s/ Kevin J. Cole
10
                                            Attorneys for Counter-Defendant
11                                          Tauler Smith LLP
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                     JOINT STATEMENT RE SETTLEMENT AGREEMENT
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                                                Wednesday, September 30, 2020 at 17:47:28 Central Daylight Time

Subject: Re: Totals paid this year so far
Date: Friday, July 3, 2020 at 2:42:51 PM Central Daylight Time
From: Robert Tauler
To:      Chris Boss
CC:      Eric Boss, Chris Brown, Adam Pulaski, David A. Sergenian, Sean Reagan

I sNll don’t have an answer Chris. You are either with me or against me so make your choice or I will choose for you.

Robert Tauler, Esq.
Tauler Smith LLP
626 Wilshire Blvd. Suite 510
Los Angeles, CA 90017
www.taulersmith.com


       On Jul 2, 2020, at 10:23 AM, Robert Tauler <rtauler@taulersmith.com> wrote:


       Is he your lawyer? Who directed you?

       Thanks,                                                      OUTLAW EXHIBIT
       Robert Tauler, Esq.
       Tauler Smith LLP
       626 Wilshire Blvd., Suite 510                                          A
       Los Angeles, CA 90017
       (213) 927-9270
       www.taulersmith.com




       On Thu, Jul 2, 2020 5:21 PM, Chris Boss chris@bosslegal.com wrote:
        Robert, I’m not trying to be disrespec[ul or avoid your quesNons. I have been instructed to defer to
        Mr. Reagan for all things Outlaw related.

         Get Outlook for iOS

         From: Robert Tauler <rtauler@taulersmith.com>
         Sent: Thursday, July 2, 2020 11:21:20 AM
         To: Chris Boss <chris@bosslegal.com>
         Cc: Eric Boss <eric@pulaskilawﬁrm.com>; Chris Brown <chris@pulaskilawﬁrm.com>; Adam
         Pulaski <adam@pulaskilawﬁrm.com>; David A. Sergenian <david@sergenianashby.com>; Sean
         Reagan <sreagan@lpmﬁrm.com>
         Subject: Re: Totals paid this year so far

         Chris, all I know is that you have over $2 million in default judgments and you haven’t tried to collect
         on any of them, apparently you have been told to wait unNl I’m “out of the picture” as Sean Reagan
         says.

         To be clear, Reagan has provided opposing counsel privileged and conﬁdenNal documents to try to
         ambush me at my depo. These documents were never produced in discovery. Do you know how
         unlawful that is?



   OUTLAW SUPPLEMENTAL PRODUCTION 003724                                                                            Page 1 of 5
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      I have also learned that Reagan has reached a deal with Poe where                   (Shawn Lynch
      and Mike Wear) give ammo to the other side in exchange for a discount on a cash seglement.

      If you are involved with this FausNan bargain, you should have the decency to tell me your role and
      how this was all coordinated. Not a good look that you have retained counsel at this stage I must say.
       This is going to break bad so you are beger oﬀ coming clean now.

      Robert Tauler, Esq.
      Tauler Smith LLP
      626 Wilshire Blvd. Suite 510
      Los Angeles, CA 90017
      www.taulersmith.com

             On Jul 2, 2020, at 7:24 AM, Chris Boss <chris@bosslegal.com> wrote:

             Mr. Tauler,

             I have included your agorney and Outlaw's counsel on this email. Please direct all
             communicaNon to them.

             Chris

             Christopher W. Boss, Esq.
             9887 4th Street North
             Suite 202
             St. Petersburg, FL 33702
             Ph. 727.471.0039
             Fax 888-449-8792
             www.bosslegal.com

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             carefully planned and considered legal strategies.

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             Bankruptcy Code.

             This communicaNon in and of itself is not intended to create an agorney client
             relaNonship. The informaNon contained in this communicaNon is intended to
             educate members of the public generally and is not intended to provide soluNons
             to individual problems. Readers are cauNoned not to agempt to solve individual
             problems on the basis of informaNon contained herein and are strongly advised to
             seek competent legal counsel before relying on this informaNon. However, this
             transmission may be interpreted to be: (1) subject to the Agorney-Client Privilege,
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             noNfy the sender (only) and delete the message. Unauthorized intercepNon of this
             e-mail is a violaNon of federal criminal law.

  OUTLAW SUPPLEMENTAL PRODUCTION 003725                                                                        Page 2 of 5
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           From: Robert Tauler <rtauler@taulersmith.com>
           Sent: Wednesday, July 1, 2020 1:20 PM
           To: Eric Boss <eric@pulaskilawﬁrm.com>; Chris Brown <chris@pulaskilawﬁrm.com>;
           Adam Pulaski <adam@pulaskilawﬁrm.com>; Chris Boss <chris@bosslegal.com>
           Subject: Re: Totals paid this year so far

           No one has informed me about the numerous defaults you obtained this year, Chris. I just
           looked them all up on PACER. Nice work, but you need to pay me my share. Are you trying to
           keep these a secret from me?

           Robert Tauler, Esq.
           Tauler Smith LLP
           626 Wilshire Blvd. Suite 510
           Los Angeles, CA 90017
           www.taulersmith.com

                  On Jul 1, 2020, at 10:18 AM, Robert Tauler <rtauler@taulersmith.com> wrote:

                  Chris, have you collected any money this year on the millions of dollars of judgments
                  you received? If so, can you tell me when I can expect my share and how much the
                  amount I am owed. Under my contract with Pulaski I am enNtled to an accounNng so
                  please provide me with an accounNng or an explanaNon by the end of the week.

                  Thanks,

                  Robert Tauler, Esq.
                  Tauler Smith LLP
                  626 Wilshire Blvd. Suite 510
                  Los Angeles, CA 90017
                  www.taulersmith.com

                         On Jul 1, 2020, at 8:52 AM, Robert Tauler <rtauler@taulersmith.com> wrote:

                         I haven’t heard back despite repeated requests and silence over a six month
                         period. Do you have some of my money or not? We signed a contract if you
                         remember.

                         Robert Tauler, Esq.
                         Tauler Smith LLP
                         626 Wilshire Blvd. Suite 510
                         Los Angeles, CA 90017
                         www.taulersmith.com

                                On Jun 30, 2020, at 10:47 AM, Robert Tauler <rtauler@taulersmith.com>
                                wrote:

                                Eric and Chris,

                                I wanted to follow up on the Outlaw settlement funds. Has any money been collected
                                since November 2019? Below is the last email I have on the subject. In any case, can
                                you provide an updated accounting at your convenience?




  OUTLAW SUPPLEMENTAL PRODUCTION 003726                                                                                Page 3 of 5
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                         Thanks,

                         Robert Tauler, Esq.
                         Tauler Smith LLP
                         626 Wilshire Blvd., Suite 510
                         Los Angeles, CA 90017
                         (213) 927-9270
                         www.taulersmith.com




  OUTLAW SUPPLEMENTAL PRODUCTION 003727                                     Page 4 of 5
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                                                Wednesday, September 30, 2020 at 17:44:47 Central Daylight Time

Subject: Re: Totals paid this year so far
Date: Thursday, July 2, 2020 at 10:21:20 AM Central Daylight Time
From: Robert Tauler
To:      Chris Boss
CC:      Eric Boss, Chris Brown, Adam Pulaski, David A. Sergenian, Sean Reagan

Chris, all I know is that you have over $2 million in default judgments and you haven’t tried to collect on any of them,
apparently you have been told to wait unMl I’m “out of the picture” as Sean Reagan says.

To be clear, Reagan has provided opposing counsel privileged and conﬁdenMal documents to try to ambush me at my
depo. These documents were never produced in discovery. Do you know how unlawful that is?

I have also learned that Reagan has reached a deal with Poe where                       (Shawn Lynch and Mike Wear)
give ammo to the other side in exchange for a discount on a cash seWlement.

If you are involved with this FausMan bargain, you should have the decency to tell me your role and how this was all
coordinated. Not a good look that you have retained counsel at this stage I must say. This is going to break bad so
you are beWer oﬀ coming clean now.

Robert Tauler, Esq.
Tauler Smith LLP
626 Wilshire Blvd. Suite 510
Los Angeles, CA 90017
www.taulersmith.com


       On Jul 2, 2020, at 7:24 AM, Chris Boss <chris@bosslegal.com> wrote:


       Mr. Tauler,

       I have included your aWorney and Outlaw's counsel on this email. Please direct all
       communicaMon to them.

       Chris

       Christopher W. Boss, Esq.
       9887 4th Street North
       Suite 202
       St. Petersburg, FL 33702
       Ph. 727.471.0039
       Fax 888-449-8792
       www.bosslegal.com

       Connect with the Firm on Facebook, TwiWer, & LinkedIn

       Our mission is to enhance the quality of life for our clients by implemenMng carefully
       planned and considered legal strategies.

       We are a debt relief agency. We help people ﬁle for bankruptcy relief under the

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     Bankruptcy Code.

     This communicaMon in and of itself is not intended to create an aWorney client
     relaMonship. The informaMon contained in this communicaMon is intended to educate
     members of the public generally and is not intended to provide soluMons to individual
     problems. Readers are cauMoned not to aWempt to solve individual problems on the basis
     of informaMon contained herein and are strongly advised to seek competent legal counsel
     before relying on this informaMon. However, this transmission may be interpreted to be:
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     and noMfy the sender (only) and delete the message. Unauthorized intercepMon of this e-
     mail is a violaMon of federal criminal law.



     From: Robert Tauler <rtauler@taulersmith.com>
     Sent: Wednesday, July 1, 2020 1:20 PM
     To: Eric Boss <eric@pulaskilawﬁrm.com>; Chris Brown <chris@pulaskilawﬁrm.com>; Adam
     Pulaski <adam@pulaskilawﬁrm.com>; Chris Boss <chris@bosslegal.com>
     Subject: Re: Totals paid this year so far

     No one has informed me about the numerous defaults you obtained this year, Chris. I just looked them
     all up on PACER. Nice work, but you need to pay me my share. Are you trying to keep these a secret
     from me?

     Robert Tauler, Esq.
     Tauler Smith LLP
     626 Wilshire Blvd. Suite 510
     Los Angeles, CA 90017
     www.taulersmith.com


            On Jul 1, 2020, at 10:18 AM, Robert Tauler <rtauler@taulersmith.com> wrote:


            Chris, have you collected any money this year on the millions of dollars of judgments you
            received? If so, can you tell me when I can expect my share and how much the amount I
            am owed. Under my contract with Pulaski I am enMtled to an accounMng so please
            provide me with an accounMng or an explanaMon by the end of the week.

            Thanks,

            Robert Tauler, Esq.
            Tauler Smith LLP
            626 Wilshire Blvd. Suite 510
            Los Angeles, CA 90017
            www.taulersmith.com


                   On Jul 1, 2020, at 8:52 AM, Robert Tauler <rtauler@taulersmith.com>
                   wrote:


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              I haven’t heard back despite repeated requests and silence over a six
              month period. Do you have some of my money or not? We signed a
              contract if you remember.

              Robert Tauler, Esq.
              Tauler Smith LLP
              626 Wilshire Blvd. Suite 510
              Los Angeles, CA 90017
              www.taulersmith.com


                     On Jun 30, 2020, at 10:47 AM, Robert Tauler
                     <rtauler@taulersmith.com> wrote:


                     Eric and Chris,

                     I wanted to follow up on the Outlaw settlement funds. Has any money
                     been collected since November 2019? Below is the last email I have on
                     the subject. In any case, can you provide an updated accounting at
                     your convenience?

                     Thanks,

                     Robert Tauler, Esq.
                     Tauler Smith LLP
                     626 Wilshire Blvd., Suite 510
                     Los Angeles, CA 90017
                     (213) 927-9270
                     www.taulersmith.com




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                                                 Wednesday, September 30, 2020 at 17:41:37 Central Daylight Time

Subject: Re: Night GH
Date: Thursday, July 2, 2020 at 12:41:42 AM Central Daylight Time
From: Robert Tauler
To:      Sean Reagan
CC:      mike@productresearch.org, Shawn, David A. Sergenian

Sean,

I can and will sue my former clients if they break the law, defraud me or breach our contract. Look it up. Happens all
the Mme. I will sue you as well if you aid them in doing so Mr. Reagan. I have you dead to rights according to my
research so far: hNps://www.jusMa.com/trials-liMgaMon/docs/caci/2200/2202/


Shawn and Mike are all Med up together. That’s the contract you are helping them break Sean by conspiring with
plainMﬀ and serving discovery sub rosa (unlawful in all 50 states). You will hurt your clients if you strike your bargain
with the devil.

It’s probably too late to ask you to think things through, but you should seriously consider the legality of your
conduct. You can say whatever you want about me, but one thing people know is that I go a[er people when they
break the law and I don’t quit. Just ask Shawn. I had Rutan and Tucker (an AmLaw 200 law ﬁrm) tap out a[er one
year with me and a[er two of their clients ended up in jail. I’ve got Poe Med up for the next three years at least and
by the end of it he won’t even have a liquor store to represent. I am good at this and I know the set up. You are
pu^ng yourself on the wrong side of the law if you play dumb. At least I hope you are “playing” dumb and not
actually this dumb. I guess we will ﬁnd out.

Anyways, for the last Mme, please stop emailing me directly as I have a lawyer.

Robert Tauler, Esq.
Tauler Smith LLP
626 Wilshire Blvd. Suite 510
Los Angeles, CA 90017
www.taulersmith.com


        On Jul 1, 2020, at 9:59 PM, Sean Reagan <sreagan@lpmﬁrm.com> wrote:


        Please stop emailing me. As David as pointed out, you have counsel.

        Because you haven’t given us our file, I am afraid I cannot give you a complete
        list of what is confidential or privileged. Please send over our complete file
        and I will be happy to give you a specific list.

        Until then, here is a good primer:

        http://www.calbar.ca.gov/Portals/0/documents/rules/Rule_1.6-
        Exec_Summary-Redline.pdf

        http://www.calbar.ca.gov/Portals/0/documents/rules/Rule_1.9-
        Exec_Summary-Redline.pdf

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     “After termination of a lawyer-client relationship, the lawyer owes two duties
     to a former client. The lawyer may not (i) do anything that will injuriously
     affect the former client in any matter in which the lawyer represented the
     former client, or (ii) at any time use against the former client knowledge or
     information acquired by virtue of the previous relationship. (See Oasis West
     Realty, LLC v. Goldman (2011) 51 Cal.4th 811 [124 Cal.Rptr.3d 256];
     Wutchumna Water Co. v. Bailey (1932) 216 Cal. 564 [15 P.2d 505].)”



     ---
     Sean M. Reagan | Leyh, Payne & Mallia PLLC | o 713.785.0881 | f 713.784.0338
     | www.lpmfirm.com

     *Board Certified in Civil Trial Law by the Texas Board of Legal Specialization

     *Board Certified in Civil Appellate Law by the Texas Board of Legal Specialization

     *Board Certified in Consumer & Commercial Law by the Texas Board of Legal
     Specialization

     This communication may contain conﬁdential or privileged information. If you believe you
     have received it in error, please notify the sender immediately and delete this message
     without copying or disclosing it.




     From: Robert Tauler <rtauler@taulersmith.com>
     Date: Wednesday, July 1, 2020 at 11:26 PM
     To: Sean Reagan <sreagan@lpmfirm.com>
     Cc: "mike@productresearch.org" <mike@productresearch.org>, Shawn
     <shawn@productresearch.org>, "David A. Sergenian" <david@sergenianashby.com>
     Subject: Re: Night GH

     Sean, I never got an answer from you. Please explain your position instead of running off
     to your daddy Mark Poe and telling on me.

     Robert Tauler, Esq.
     Tauler Smith LLP
     626 Wilshire Blvd. Suite 510
     Los Angeles, CA 90017
     www.taulersmith.com


           On Jul 1, 2020, at 12:52 PM, Robert Tauler <rtauler@taulersmith.com> wrote:


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         What confidential information are you referring to? As you know,
         confidentiality is a two-way street, and is a concept distinct from attorney-
         client privilege. Please let me know by close of business today.

         Thanks,

         Robert Tauler, Esq.
         Tauler Smith LLP
         626 Wilshire Blvd. Suite 510
         Los Angeles, CA 90017
         www.taulersmith.com


               On Jul 1, 2020, at 11:03 AM, Sean Reagan
               <sreagan@lpmfirm.com> wrote:

               Mr. Tauler:

               Thank you for bringing this to our attention. We will
               certainly look into it.

               To be clear, you are not to perform any additional legal work
               for Outlaw. So, there is no need for you to monitor Outlaw’s
               website or to provide legal advice to Outlaw.

               However, you still owe a fiduciary duty to Outlaw to keep
               and preserve its confidential and privileged information. To
               be clear, you are not authorized to disclose, disseminate, or
               publish any of Outlaw’s confidential and privileged
               information. And you still have a duty to provide Outlaw
               with its complete file and a full accounting of the money you
               took in and disbursed during your representation, as we
               have requested numerous times. Outlaw renews its request
               for its complete file and a complete accounting.

               Thank you.


               ---
               SEAN M. REAGAN | LEYH, PAYNE & MALLIA PLLC | o
               713.785.0881 | f 713.784.0338 | www.lpmfirm.com




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              Texas Board of Legal Specialization

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              information. If you believe you have received it in error, please
              notify the sender immediately and delete this message without
              copying or disclosing it.




              From: Robert Tauler [mailto:rtauler@taulersmith.com]
              Sent: Wednesday, July 01, 2020 10:59 AM
              To: mike@productresearch.org; Shawn
              <shawn@productresearch.org>; Sean Reagan
              <sreagan@lpmﬁrm.com>
              Subject: Night GH

              Thought you might like to know that your product Night-GH is a
              misbranded drug under federal law because it is a transdermal.
               Transdermals are illegal to sell without prior approval from the
              federal government. This is a big problem for you potentially.
               Maybe you can have Sean Reagan help you I hear he is sharp as a
              whip.

               https://www.outlawlaboratory.com/store/product/6416/night-
              gh.html

              Robert Tauler, Esq.
              Tauler Smith LLP
              626 Wilshire Blvd. Suite 510
              Los Angeles, CA 90017
              www.taulersmith.com




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                                              Wednesday, September 30, 2020 at 17:40:53 Central Daylight Time

Subject: Night GH
Date: Wednesday, July 1, 2020 at 10:59:07 AM Central Daylight Time
From: Robert Tauler
To:      mike@productresearch.org, Shawn, Sean Reagan

Thought you might like to know that your product Night-GH is a misbranded drug under federal law because it is a
transdermal. Transdermals are illegal to sell without prior approval from the federal government. This is a big
problem for you potenOally. Maybe you can have Sean Reagan help you I hear he is sharp as a whip.

hQps://www.outlawlaboratory.com/store/product/6416/night-gh.html

Robert Tauler, Esq.
Tauler Smith LLP
626 Wilshire Blvd. Suite 510
Los Angeles, CA 90017
www.taulersmith.com




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                                             Wednesday, September 30, 2020 at 17:39:51 Central Daylight Time

Subject:    Fwd: Outlaw Supplemental Produc4on
Date:       Friday, April 10, 2020 at 5:02:14 PM Central Daylight Time
From:       Robert Tauler
To:         Sean Reagan, eric@pulaskilawﬁrm.com, shawn@productresearch.org,
            mike@productresearch.org, david@sergenianashby.com
AGachments: 2020.04.10.Outlaw Supp Produc4on.pdf, Miranda SeMlements.pdf

Sean, why are you giving the other side my trust reports without leNng me know or marking them “conﬁden4al”
under the protec4ve order? My materials are conﬁden4al and privileged you dumb shit!!! You need to ﬁle a no4ce
to consumer and comply with the protec4ve order. You are going to mess this up even more for everyone if you
don’t comply with the law. Right now, you are the only thing standing in the way of us winning and making
everything worse!!

Robert Tauler, Esq.
Tauler Smith LLP
626 Wilshire Blvd. Suite 510
Los Angeles, CA 90017
www.taulersmith.com

Begin forwarded message:


       From: "David A. Sergenian" <david@sergenianashby.com>
       Date: April 10, 2020 at 2:56:13 PM PDT
       To: Robert Tauler <rtauler@taulersmith.com>
       Subject: FW: Outlaw Supplemental ProducJon




       From: Sean Reagan <sreagan@lpmﬁrm.com>
       Date: Friday, April 10, 2020 at 2:47 PM
       To: Mark Poe <mpoe@gawpoe.com>
       Cc: "David A. Sergenian" <david@sergenianashby.com>
       Subject: Outlaw Supplemental Produc4on

       Gentlemen:

       Please see attached Outlaw Supplemental Production 1893-1934.

       ---
       SEAN M. REAGAN | LEYH, PAYNE & MALLIA PLLC | o 713.785.0881 | f 713.784.0338 |
       www.lpmfirm.com

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     Specialization

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                                                       Wednesday, September 30, 2020 at 17:36:08 Central Daylight Time

Subject: Re: Call Today
Date: Sunday, March 29, 2020 at 6:50:28 PM Central Daylight Time
From: Robert Tauler
To:      Sean Reagan
CC:      Shawn, David A. Sergenian, mike@productresearch.org, Eric Boss, Chris Boss

Sean,

You have made statements to my lawyer that are inconsistent with our conversaLon last week. I’m really sick of the
bullshit. Please be advised that Tauler Smith will not be contribuLng any money to any proposed sePlement you
have concocted with a carve out for your personal interests in Texas.

For starters, you have not returned the $10,000 that was given to you over a year ago which is partly mine. Please
return it to Pulaski law ﬁrm so it can be accounted for properly and accounted for.

On a separate note Sean, your greed and incompetence really sicken me. You would think that you would be a liPle
less stupid and greedy two days aWer giving the other side all the informaLon they need to implicate Pulaski and the
Boss family. Do you really need a daily reminder of how stupid that was? This is all on you buddy.

You are an embarrassment to competent people everywhere.

Robert Tauler, Esq.
Tauler Smith LLP
626 Wilshire Blvd. Suite 510
Los Angeles, CA 90017
www.taulersmith.com

On Mar 27, 2020, at 10:50 AM, Sean Reagan <sreagan@lpmﬁrm.com> wrote:


        I was hoping to get through a day without a conference call!!!

        I’m prePy much free all day.

        I think Mike, Eric, and Chris need to be on the call.

        Sent from my iPhone


               On Mar 27, 2020, at 12:46 PM, Robert Tauler <rtauler@taulersmith.com> wrote:


               You guys free for a call today? I think it would be useful. I am free anytime after noon Pacific.

               Here is my conference line:

                 781-448-4712
                 Passcode: 76860
               Robert Tauler, Esq.
               Tauler Smith LLP
               626 Wilshire Blvd., Suite 510
               Los Angeles, CA 90017
               (213) 927-9270
               www.taulersmith.com



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